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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JANE ROE, et al.,                                  Case No. 24-cv-01562-JST
                                                          Plaintiffs,
                                   8
                                                                                            ORDER RE: DOCUMENT
                                                   v.                                       DISCOVERY; CONTINUING CASE
                                   9
                                                                                            MANAGEMENT CONFERENCE
                                  10     CITY AND COUNTY OF SAN
                                         FRANCISCO,
                                  11                      Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to the Court and the parties’ earlier discussions and the parties’ joint case

                                  14   management statement, ECF No. 91, the Court now orders as follows:

                                  15          1.        Defendant will produce any responsive, non-privileged documents within the

                                  16   custody or control of Emily Cohen on or before April 14, 2025;

                                  17          2.        By April 10, 2025 at noon, Defendant will provide Plaintiffs with an update on the

                                  18   volume of custodial files requiring review and propose a completion date for the custodial files;

                                  19          3.        The case management conference currently scheduled for April 8, 2025 is

                                  20   continued to April 11, 2025 at 1:30 p.m. (because more than one conference will be set at that

                                  21   time, the conference may not begin precisely at 1:30 p.m.). An updated joint case management

                                  22   statement is not required.

                                  23          IT IS SO ORDERED.

                                  24          Dated: April 7, 2025
                                                                                        ______________________________________
                                  25
                                                                                                      JON S. TIGAR
                                  26                                                            United States District Judge

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